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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                               :
In re                                                          : Chapter 11
                                                               :
MADISON SQUARE BOYS & GIRLS CLUB,                              : Case No. 22-10910-shl
INC.1,
                                                               :
                           Debtor.                             :
                                                               :
---------------------------------------------------------------X

                                      CERTIFICATE OF SERVICE

    STATE OF CALIFORNIA                            )
                                                   )
    COUNTY OF SAN FRANCISCO                        )

         I, Oliver Carpio, am over the age of eighteen years, am employed by Pachulski Stang

Ziehl & Jones LLP. I am not a party to the within action; my business address is One Market

Plaza, Spear Tower, 40th Floor, Suite 400, San Francisco, California 94105-1020.

         On August 15, 2022, in addition to service via the Court’s ECF system, I caused a true

and correct copy of the following document to be served via electronic mail upon the parties set

forth on the service list annexed hereto as Exhibit 1 and via FedEx upon the parties set forth on

the service list annexed hereto as Exhibit 2:

      The Official Committee of Unsecured Creditors’ Application to Retain and Employ
       Pachulski Stang Ziehl & Jones LLP as Counsel Effective as of July 16, 2022 [Docket No.
       __]; and

      Notice of Hearing on The Official Committee of Unsecured Creditors’ Application to
       Retain and Employ Pachulski Stang Ziehl & Jones LLP as Counsel Effective as of July
       16, 2022 [Docket No. __].




1
The last four digits of the Debtor’s federal tax identification number are 6792. The Debtor’s mailing address is 250
Bradhurst Avenue, New York, New York 10039.


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I declare under penalty of perjury, under the laws of the State of Texas and the United States of

America that the foregoing is true and correct.



Dated this 15th day of August, 2022.



                                                      /s/ Oliver Carpio
                                                      Oliver Carpio




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                                               EXHIBIT 1

          NAME                            NOTICE NAME                            EMAIL
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              NAME                         NOTICE NAME                              EMAIL
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                                   ATTN GERALD J. WILLIAMS, BETH     BCOLE@WILLIAMSCEDAR.COM;
WILLIAMS CEDER LLC                 G. COLE, SHAUNA L. FRIEDMAN       SFRIEDMAN@WILLIAMSCEDAR.COM




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                                          EXHIBIT 2

Service by FED EX

 Alda Building Company LLC   Gem Mechanical, LLC                J & L Service NYC Inc.
 128 Norman Avenue           200 Franklin Street                1949 66th Street
 Brooklyn, NY 11222          Ste 3, Box 2                       Brooklyn, NY 11204
                             Brooklyn, NY 11222
 Chubb Group                 The Hon. Sean Lane                 United States Bankruptcy
 1133 Avenue of the Americas 300 Quarropas Street               Court for the Southern
 New York, NY 10036          White Plains, NY 10601-            District of New York
                             4140                               300 Quarropas Street
                                                                Room 147
                                                                White Plains, NY 10601
 Andrea Schwartz                  Andrea Schwartz
 U.S. Dept. of Justice - Office   120 E. 87th Street, Apt. 8Q
 of U.S. Trustee                  New York, New York 10128
 201 Varick St, Unit 1006
 New York, NY 10014-9449




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